Case 2:04-cr-20481-SH|\/| Document 8 Filed 04/18/05 Page 1 of 2 Page|D 8

UNITED STATES DISTRICT COURT " " ` M " '
WESTERN DIS'I`RICT OF TENNESSEE me T_:,_M? 1 n 51 ,{;;:; 3
Western Division 1 1 f ~ 1

 

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»`;;};3;_‘ L;~‘ '~tn, mem
UNITED sTATEs OF AMERICA i-
"’S' ease No. 2;04¢1~20481-1\/11

MARCUS BUFORD

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING] PURSUANT TO
BAIL REFORM ACT
Upon motion of the Defendant, it is ORDERED that a detention hearing is re-set for
WEDNESDAY, APRIL 20, 2005 at 2:30 P.M. before United States Magistrate Judge Tu M.
Pham in Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the

United States Marshal and produced for the hearing.

Date: April 15, 2005

  

 

 

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TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

'It`not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1‘)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f`) are present. Subsection (I) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officers own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to ob struct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B!BE) Order cf Temporary Detention

focurnent entered on the docket sheet in compliance
rule 55 and/or senn isach on * J/'O

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:04-CR-20481 Was distributed by faX, mail, or direct printing on
April 18, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

